EXHIBIT C
Short Message Report

Conversations: 1                              Participants: 2
Total Messages: 2                             Date Range: 5/10/2023

Outline of Conversations


 Q      ec032e7dd23c93498fc9545ceb0528b957ec6c94750e53lel28fc3520f9b9eb2-2023/05/10 2
        messages on 5/10/2023 E. Jean Carroll • Jackdaniels Melissa




                                                                              PLAINTIFF's
                                                                               EXHIBIT
                                                                               PX-126
                                                                             20 Civ. 7311 (LAK)
Messages in chronological order (times are shown in GMT -04:00)


 Q       ec032e7dd23c93498fc9545ceb0528b957ec6c94750e531e128fc3520f9b9eb2-2023/05/10

         Jackdaniels Melissa                                                                                    5/10/2023, 2:26 PM
         You're a disgusting disgrace to women who were really sexually abused in their lives. You're a pathetic, lying fucking cunt
         and God will try you for this lie. You ducking twisted. You did this to prove to someone that you could just because of who
         he is. I hope you die soon. I hope someone really does attack, rape and murder you. You deserve it all you cunt.

         Jackdaniels Melissa                                                                                    5/10/2023, 2:26 PM
         You missed a call from a Messenger user.
